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                     UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

SHLOMO Y. HECHT,                             :
                                             :
                    Plaintiff,               :     CIVIL ACTION - LAW
                                             :
      - against -                            :
                                             :     JURY TRIAL DEMANDED
BABYAGE.COM, INC.,                           :
JACK KIEFER, and                             :
JOSEPH SPONHOLTZ,                            :
                                             :     No.
                    Defendants.              :

                                  COMPLAINT

      Plaintiff Shlomo Y. Hecht (“Mr. Hecht”), by and through his counsel,

Barry H. Dyller, Esq. and Kelly A. Bray, Esq. of the Dyller Law Firm, hereby

complains against Defendants BabyAge.com, Inc. (“BabyAge”), John

Kiefer and Joseph Sponholtz, in support thereof avers the following:



                          JURISDICTION AND VENUE

      1. This action arises out of violations of 42 U.S.C. §1981 and the

common law.

      2. This Court has jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1343 and 1367. Venue is proper in this judicial district under 28

U.S.C. § 1391(b) because a substantial part of the events or omissions

giving rise to the claim occurred in this judicial district.
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                                THE PARTIES

      3. At all times relevant hereto, plaintiff Mr. Hecht was an adult

individual residing at 10 Downing Drive, Dallas, PA.

      4. Upon information and belief, defendant BabyAge, is a corporation

organized and existing under the laws of the State of Delaware, duly

authorized as a domestic corporation to conduct business in the

Commonwealth of Pennsylvania, with a principal place of business located

at 360 Stewart Road, Wilkes-Barre, PA.

      5. Defendant Jack Kiefer (“Mr. Kiefer”) is employed by BabyAge as

its Chief Executive Officer.

      6. Defendant Joseph Sponholtz (“Mr. Sponholtz”) is employed by

BabyAge as its Chief Operating Officer and General Counsel.

      7. Upon information and belief, the defendants each are residents of

the Commonwealth of Pennsylvania.


                               BACKGROUND

      8. On or about May 8, 2008, Mr. Hecht was retained as the Chief

Technology Officer for BabyAge. Although such retention was as a




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“consultant,” BabyAge made Mr. Hecht its Chief Technology Officer.

(Consulting Agreement attached hereto as Exhibit “A”).

      9. As part of his retention BabyAge issued Mr. Hecht business cards

which identify him as the Chief Technology Officer. (Attached hereto as

Exhibit “B”).

      10. Mr. Hecht was retained by BabyAge for a period of three years,

with yearly compensation of $150,000.00.

      11. As Chief Technology Officer, Mr. Hecht solely wrote, rewrote and

maintained BabyAge’s entire software and fulfillment system.

      12. Mr. Hecht was on call twenty-four hours per day, seven days per

week in order to maintain BabyAge’s software and its website.


Religious/Ethnic Discrimination by BabyAge, Mr. Kiefer and Mr. Sponholtz

      13. Mr. Hecht is Jewish.

      14. On or about January 2009, BabyAge’s acting Chief Executive

Officer Jack Kiefer confronted Mr. Hecht and stated in an angry tone that

he did not want a “Jew Boy Club” in the office.

      15. Mr. Kiefer repeatedly expressed negativity against the Jewish

holidays and made it clear to Mr. Hecht he did not want him to observe

Jewish holidays and/or take vacation days on Jewish holidays.

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      16. Mr. Kiefer repeatedly referred to Mr. Hecht and other Jewish

employees as “fucking Jews” and the “blood sucking tribe.”

      17. BabyAge’s Chief Operating Officer and General Counsel Joseph

Sponholtz repeatedly referred to Mr. Hecht and other Jewish employees as

“fucking Jews.”

      18. Mr. Keifer and other BabyAge executives plotted to eliminate all

Jewish employees in high level positions at BabyAge, including Mr. Hecht.

      19. Mr. Keifer stated to Mr. Hecht that a certain employee was fired

because he was a “typical fucking Jew, that is corrupt through and

through.”

      20. Mr. Hecht suffered disparate treatment while he was retained as

the Chief Technology Officer for BabyAge due to his Jewish

religion/ethnicity.

      21. Mr. Hecht endured severe and pervasive harassment, which

created a hostile working environment based on his Jewish

religion/ethnicity.

      22. BabyAge, Mr. Kiefer and Mr. Sponholtz made a concerted effort

to rid the company of Jews in high level positions.




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BabyAge’s Breach of Mr. Hecht’s Contract

      23. On or about August 25, 2009, Mr. Hecht was approached by

Jack Kiefer and was verbally informed his contract had been terminated.

      24. Mr. Hecht was discharged, and otherwise discriminated against

with respect to the terms, conditions or privileges of his retention with

BabyAge because of his Jewish religion/ethnicity.

      25. On or about September 4, 2009, BabyAge filed a civil action

against Mr. Hecht alleging various claims against Mr. Hecht during his

retention with BabyAge.

      26. The claims alleged in the civil action were pretexts to terminate

an expensive three year contract.

      27. On December 16, 2009, facing Mr. Hecht’s vigorous defense of

BabyAge’s pretextual lawsuit, BabyAge voluntarily dismissed the lawsuit.


BabyAge’s, Mr. Kiefer’s and Mr. Sponholtz’s Defamation of Mr. Hecht’s
Character

      28. On or about August 25, 2009, Mr. Sponholtz and Mr. Kiefer

made a statement in front of roughly 45 BabyAge employees that Mr.

Hecht was fired because he was a thief.




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     29. Mr. Sponholtz and Mr. Kiefer repeated these statements

numerous times to various consultants and third party vendors with whom

Mr. Hecht worked while retained by BabyAge.

     30. Mr. Hecht in fact had not stolen anything and was not a thief of

any kind.


Breach of Fiduciary Duty by Corporation to Officer

     31. Mr. Hecht incurred costs in defending the civil action filed by

BabyAge.

     32. Article 9, Section 9.4 of BabyAge’s by-laws, provides as follows:


            Advancement of Expenses. Expenses incurred in
            defending a civil or criminal action or proceeding of
            the type described in Section 9.1 [Persons Entitled
            to Indemnification. Every person who... “was a
            director or officer of the Corporation”...] shall be
            paid by the Corporation in advance of the final
            disposition of such action or proceeding upon
            receipt of an undertaking by or on behalf of the
            person requesting such advance to repay such
            amount in the event that such person is ultimately
            found not to be entitled to indemnification or, where
            indemnification is granted, to the extent the
            expenses so advanced by the Corporation or
            allowed by a court exceed the indemnification to
            which a person is entitled.




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BabyAge was thus required to advance expenses incurred, including

attorney’s fees, in defending any civil action against Mr. Hecht relating to

his time as an officer of BabyAge. (BabyAge’s by-laws are attached hereto

as Exhibit “C”).

      33. On or about October 23, 2009, Mr. Hecht submitted a request to

John Keifer, Chief Executive Officer of BabyAge, requesting advancement

of expenses to defend the lawsuit filed against him by BabyAge on

September 4, 2009. (Letter attached hereto as Exhibit “D”).

      34. On or about November 2, 2009, legal counsel for BabyAge

responded to Mr. Hecht’s letter, denying his request for advancement of

expenses. (Letter attached hereto as Exhibit “E”).

      35. On or about December 16, 2009 BabyAge filed a Discontinuance

Without Prejudice in its civil action against Mr. Hecht. (Attached hereto as

Exhibit “F”).

      36. On or about December 23, 2009, Mr. Hecht submitted a request

to John Keifer requesting payment of Mr. Hecht’s legal expenses incurred

in defending the lawsuit filed against him by BabyAge on September 4,

2009. (Letter attached hereto as Exhibit “G”).




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        37. On or about December 28, 2009, legal counsel for BabyAge

responded to Mr. Hecht’s letter, refusing to pay his invoice for professional

services rendered. (Letter attached hereto as Exhibit “H”).

        38. Mr. Hecht is entitled to the payment of legal expenses incurred in

defending the civil action.


The Effect on Mr. Hecht

39. Mr. Hecht suffered economic harm. Mr. Hecht also suffered emotional

harm.

                                  COUNT ONE
                                (42 U.S.C. §1981)


        40. Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 39 as if fully repeated herein.

        41. Defendants intentionally discriminated against Mr. Hecht

because of his Jewish religion/ethnicity.

        42. Defendants Kiefer and Sponholtz caused defendant BabyAge to

terminate, and BabyAge did terminate, Mr. Hecht’s contract because of his

Jewish religion/ethnicity.

        43. As a result of such discrimination, Mr. Hecht was damaged.



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                                COUNT TWO
                             (Breach of Contract)

      44. Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 43 as if fully repeated herein.

      45. Mr. Hecht entered into a valid, enforceable contract with

BabyAge.

      46. BabyAge’s nonperformance of said contract amounted to a

breach of contract.

      47. As a result of the breach of contract, Mr. Hecht was damaged in

the amount of $255,205.35.



                             COUNT THREE
           (Breach of Fiduciary Duty by Corporation to an Officer)

      48. Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 47 as if fully repeated herein.

      49. BabyAge owed Mr. Hecht a fiduciary duty to advance expenses

incurred, including attorney’s fees, in defending any civil action against Mr.

Hecht relating to his time as an officer of BabyAge.

      50. BabyAge refused to advance or remit payment for Mr. Hecht’s

legal expenses incurred in defending the civil action filed by BabyAge.


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     51. As a result of the breach of fiduciary duties, Mr. Hecht was

damaged in the amount of $11,924.94.

                               COUNT FOUR
                                (Defamation)


     52. Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 51 as if fully repeated herein.

     53. Defendants published defamatory communications about Mr.

Hecht.

     54. Such defamatory communications harmed Mr. Hecht's reputation

and lowered him in the estimation of the community. They also deterred

third persons from associating or dealing with him.

     55. As a result of such defamatory communications, Mr. Hecht has

suffered economic damage, as well as impairment of reputation in the

community, personal humiliation and mental anguish and suffering.


                                COUNT FIVE
                            (Invasion of Privacy)


     56. Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 55 as if fully repeated herein.



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        57. The statements produced and published by the defendants gave

publicity to a matter whereby defendants placed Mr. Hecht in a false light

which is highly offensive to a reasonable person.

        58. Defendants had knowledge of and/or acted in reckless disregard

as to the falsity of the publicized matter and the false light in which Mr.

Hecht would be placed.

        WHEREFORE, plaintiff demands judgment as follows:

             A.    For Count One, an amount to be determined at trial,

including punitive damages, plus interest;

             B.    For Count Two, $255,205.35, plus interest;

             C.    For Count Three, $11,924.94, plus interest;

             D.   For Count Four, an amount to be determined at trial,

including punitive damages, plus interest;

             E.   For Count Five, an amount to be determined at trial,

including punitive damages, plus interest;

             F.    For plaintiff’s attorneys’ fees pursuant to 42 U.S.C. §

1988;

             G.    For the costs and disbursements incurred in this action;

and


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              H.    For such other and further relief as the Court deems just

and proper.

                                                   DYLLER LAW FIRM

                                                   /S/ Barry H. Dyller
                                                   /S/ Kelly A. Bray
                                                   Attorney for Plaintiff
                                                   Gettysburg House
                                                   88 North Franklin Street
                                                   Wilkes-Barre, PA 18701
                                                   (570) 829-4860


                                 JURY DEMAND

              Plaintiff demands a trial by jury on all issues.




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